AD 440 (Rev. 06129 Summons ina Civil Action

 

 

LINITED STATES DISTRICT COURT

for ihe

 

 

Eastern District of North Carolina o}

 

Steve Sands

Pladnigiis)
¥. Civil Action No, 5:19-cev-345

Epicstraam, LLG

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Defendant(s)
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) & item, LLG- 820 Silver Linden Lane, Wake Forest, North Carolina 27587

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (net counting the day you received it) — or 60 days if vou
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.

P. 12 f9¢2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are? pi tq Liebowitz, Liebowitz Law Firm, PLLC, 11 Sunrise Plaza, Suite 205, Valley
Stream, Mew York

Lf you fail te respond, judgment by default will be entered against you for the relief demanded in the complarnt.
You also must file your answer or motion with the court.

CLARK OF COORT

Date:

 

 

Sipnaere of Clerk or Deputy Clerk

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AO 440 (Rev. 0812) Summons ina Civil Action (Pape 2)

 

 

Civil Action Ne. 5:1 9-cv-345

PROOF OF SERVICE
‘This section should not be filed with the court unless required by Fea. R. Civ. P. 4 ffi)

This summons for frame af individieal ana file, (fans

was peceryed by me on folate)

OT personally served the summons on the individual at jptace!

CM felertess Or

1 1 eft the summons at the individual's residence or usual place of abode with fren:

a person of suitable age and discretion who resides there,

Cn faleres} 2nd mailed a copy te the individual's last known address: or

Al L served the summons on. frearee of inoltwiateas) . who is

designated by law te accept service of process on behalf of preme ofermenizeticn!

OM felertes! Lor
A Treturned the summons unexecuted because : or
OF Other specifi:
Ny fees ane § for travel and & for services, for a total of & o.00

[declare under penalty of perjury that this information 1s truce.

Date:
Servers sipnmiirc

Primed nome ana ite

Aerver‘s adress

Addibponal information regarding attempted service, etc:

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